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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA


   UNITED STATES OF AMERICA,

                        Plaintiff,

   v.                                                 Case No. 23-CR-228-JFH

   JERRY DEE KEYS, and
   CRISTI LEA KEYS,

                        Defendants.

                                     Proof of Publication

        The attached declaration of publication (Exhibit A) and the notice of forfeiture action

(Exhibit B) reflect publication on an official government internet site (www.forfeiture.gov)

for at least thirty consecutive days, beginning on December 22, 2023, through January 20,

2024, as required by Fed. R. Crim. P. 32.2(b)(6)(C) and Rule G(4)(a)(iv)(C) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, as

evidenced by the advertisement certification report (Exhibit C).

        Executed on the 20th day of February, 2024.


                                         CLINTON J. JOHNSON
                                         UNITED STATES ATTORNEY

                                         /s/ Reagan V. Reininger
                                         REAGAN V. REININGER, OBA #22326
                                         Assistant United States Attorney
                                         110 West 7th Street, Suite 300
                                         Tulsa, Oklahoma 74119
                                         Telephone: (918) 382-2700
                                         Email: reagan.reininger@usdoj.gov
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                                   Certificate of Service

      I hereby certify that on February 20, 2024, the foregoing document was electronically
transmitted to the Clerk of Court using the ECF System for filing and transmittal of a Notice
of Electronic Filing to counsel of record.

                                        /s/ Pam Kuch
                                        PAM KUCH, Paralegal Specialist




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